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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 JASON CARR, VICKI LEMASTER,
 EDWARD FORD SERVICES LLC,
 CARLTON MORGAN, 365 SUN LLC,
 and CANDICE WORTHY, individually
 and on behalf of others similarly
 situated,
                                                       CIVIL ACTION
                                                   NO. 1:22-cv-01249-VMC
        Plaintiffs,

 v.

 KABBAGE, INC., d/b/a KSERVICING,

       Defendant.



              NOTICE OF SUGGESTION OF PENDENCY
      OF BANKRUPTCY AND AUTOMATIC STAY OF PROCEEDINGS

       PLEASE BE ADVISED that, on October 3, 2022, Kabbage, Inc. d/b/a

KServicing and its debtor affiliates, as debtors and debtors in possession in the

above-captioned chapter 11 cases (collectively, the “Debtors” and, together with

their non-Debtor affiliates, the “Company”) commenced bankruptcy cases (the

“Chapter 11 Cases”) in the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Court”) by filing voluntary petitions for relief under

chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532, et seq. (the

“Bankruptcy Code”).       The Chapter 11 Cases are now pending before The

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Honorable Judge Goldblatt, United States Bankruptcy Judge, and are under the

caption In re Kabbage, Inc. d/b/a KServicing, et al., Case No. 22-10951 (CTG).

      PLEASE BE FURTHER ADVISED that section 362(a) of the Bankruptcy

Code provides for an automatic stay, applicable to all entities, of, among other

things, the following:

             (1)   The commencement or continuation, including the issuance
                   or employment of process, of a judicial, administrative, or
                   other action or proceeding against the debtor that was or
                   could have been commenced before the commencement of
                   the case under [chapter 11], or to recover a claim against the
                   debtor that arose before the commencement of the case
                   under [chapter 11]; [and]

                                                 ***

             (6)   Any act to collect, assess, or recover a claim against the
                   debtor that arose before the commencement of the case
                   under [chapter 11].

      PLEASE BE FURTHER ADVISED that section 362(k)(1) of the Bankruptcy

Code provides that any entity injured by a willful violation of the automatic stay

“shall recover actual damages, including costs and attorneys’ fees, and, in

appropriate circumstances, may recover punitive damages.”

      PLEASE BE FURTHER ADVISED that the automatic stay of proceedings

automatically commenced concurrently with the filing of the chapter 11 petitions on

October 3, 2022. The automatic stay prevents “commencement or continuation” of

actions against a debtor. Any and all pleadings filed since October 3, 2022 constitute




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a “continuation” of a stayed suit and therefore violate the automatic stay and are

void.

        PLEASE BE FURTHER ADVISED that additional information regarding the

status of the Chapter 11 Cases may be obtained by: (i) reviewing the docket of the

Chapter 11 Cases electronically at https://ecf.deb.uscourts.gov (at a cost and a

PACER login and password are required); (ii) reviewing the Chapter 11 Case

website maintained by the Debtors’ claims and noticing agent, Omni Agent

Solutions, Inc. at https://omniagentsolutions.com/kservicing (free of charge); or (iii)

contacting proposed counsel for the Debtors, Weil, Gotshal & Manges LLP, 767

Fifth Avenue, New York, New York 10153 (Attn: Candace M. Arthur, Natasha S.

Hwangpo,      and     Chase      A.    Bentley)      at    candace.arthur@weil.com,

natasha.hwangpo@weil.com, and chase.bentley@weil.com; and Richards, Layton

& Finger, P.A., One Rodney Square, 920 North King Street, Wilmington, Delaware

19801 (Attn: Daniel J. DeFranceschi, Amanda R. Steele, and Zachary I. Shapiro,) at

defranceschi@rlf.com, steele@rlf.com, and shapiro@rlf.com.



Dated: October 11, 2022
                                        Respectfully submitted,

                                        DENTONS US LLP

                                        /s/ Uchenna Ekuma-Nkama
                                        Uchenna Ekuma-Nkama
                                        Georgia Bar No. 957861

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                           Counsel for Defendant Kabbage, Inc. d/b/a
                           KServicing




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         Plaintiffs,

 v.

 KABBAGE, INC., d/b/a KSERVICING,

        Defendant.


                CERTIFICATE OF SERVICE AND COMPLIANCE

      I certify that on October 11, 2022, I filed the foregoing NOTICE OF

SUGGESTION OF PENDENCY OF BANKRUPTCY AND AUTOMATIC

STAY OF PROCEEDINGS with the Clerk of Court using the CM/ECF system,

which will automatically send e-mail notification of such filing to all counsel of

record. I also certify that the foregoing was prepared in accordance with N.D. Ga.

L.R. 5.1, using Times New Roman font, 14 point.

                                                    /s/ Uchenna Ekuma-Nkama
                                                    Uchenna Ekuma-Nkama




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